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7                         UNITED STATES DISTRICT COURT
8                        CENTRAL DISTRICT OF CALIFORNIA
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                                                   )
10     VICTOR WAYNE COOPER,                        )    Case No. EDCV 20-0222-MWF (JEM)
                                                   )
11                         Petitioner,             )
                                                   )    JUDGMENT
12                  v.                             )
                                                   )
13     MONA HOUSTON, Warden,                       )
                                                   )
14                                                 )
                           Respondent.             )
15

16           In accordance with the Order Accepting Findings and Recommendations of United
17     States Magistrate Judge filed concurrently herewith,
18           IT IS HEREBY ADJUDGED that the action is dismissed without prejudice.
19

20     DATED: January 11, 2021
                                                           MICHAEL W. FITZGERALD
21                                                     UNITED STATES DISTRICT JUDGE
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